Case 2:05-cr-20204-.]DB Document 18 Filed 06/15/05 Page 1 of 2 Page|D 41

rli,.?.`.~§{`,`? ,'j¢:\_;l '
IN THE UNrrED sTATEs DISTRICT COURT ' 779/§
FoR THE wEsTERN DISTRICT 0F TENNESSEE 35 M,»UH l r. 4
WESTERN DIVISIoN " '3 Pl'¥ 3¢ h t

  

 

" J.:: `“`§‘.irsr"ei)

 

 

UNITED STATES OF AMERICA ""“; k wl *"E\“ f""H’S
V.
WARD CRUTCHFIELD 05cr20204-1-B
ORDER ON ARRAIGNMENT

This cause came to be heard on Qjé¢z£¢ /= 22 ZQ£ § the United States Attorney
for this district appeared on behalf of the g vernment, and the defendant appeared in person and With
counsel:
NAMEWMML/ jWL/¢L.W'C/ Who is Retained/Appointed.

 

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
Shown to a District Judge, such period is extended

Uefendant, who is not in eustody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. f%\
lJ\-/\/ \‘
UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:1951
INTERFERENCE WITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. DiScenza

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

William H. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Jonathan P. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

